

ORDER

PER CURIAM:
AND NOW, this 22nd day of July, 1998, Charles Lawrence Feely having been disbarred from the practice of law in the State of New York by Order of the Supreme Court of the State of New York, Appellate Division, First Judicial Department, filed March 26, 1998; the said Charles Lawrence Feely having been directed on May 21,1998, to inform this Court of any clam he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that Charles Lawrence Feely is disbarred from the practice of law in this *634Commonwealth, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
